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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


 In re:
                                                                CHAPTER 11
 TALEN ENERGY SUPPLY, LLC, et al.
                    1
           Debtors.                                             CASE NO. 22-90054 (MI)




     SUPPLEMENTAL DECLARATION OF RONALD J. ROBERTS IN SUPPORT OF
        PUGET SOUND ENERGY, AVISTA CORPORATION, PACIFICORP, AND
      PORTLAND GENERAL ELECTRIC COMPANY’S SUPPLEMENTAL BRIEF
       IN SUPPORT OF MOTION FOR RELIEF FROM THE AUTOMATIC STAY

          I, Ronald J. Roberts, declare as follows:

          1.     I previously provided a declaration in support of the motion for relief from the

automatic stay filed by Puget Sound Energy (“PSE”), Avista Corporation, PacifiCorp, and

Portland General Electric Company (“PNW Owners”) [Doc. 244]. I discussed my background in

that previously filed declaration. I am competent to testify and make this supplemental

declaration based on personal knowledge.

          2.     The automatic stay impairs the Colstrip owners’ ability to resolve the question of

the closure requirements under the O&O Agreement and SB 266. The longer it takes to resolve

that question, the more it will harm the Colstrip owners, irrespective of the answer.

          3.     The longer closure pushes past December 31, 2025, the more costly it will be for

PSE and the other utilities active in Washington, which are particularly vulnerable to increased




1A  complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ proposed
claims and noticing agent at https://cases.ra.kroll.com/talenenergy. The Debtors’ primary mailing address is 1780
Hughes Landing Boulevard, Suite 800, The Woodlands, Texas 77380.

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costs from delays given the restriction on selling coal-fired electricity to Washington customers

after the end of 2025. Closure of a coal facility can take years, including time to mechanically

close the facility, resolve administrative issues such as contracts and permits associated with the

facility (there are thousands of Colstrip-related contracts), obtain any needed regulatory

approvals from state and federal regulatory agencies, and resolve any further litigation.

         4.    Additionally, if closure of the plant extends past December 31, 2025, Talen

Montana, LLC, and NorthWestern will likely contend that the PNW Owners will be required to

continue to fund their share of operations-and-maintenance (“O&M”) expenses. PSE’s share of

the 2022 O&M budget is approximately $25 million; for all four PNW Owners, their share of the

2022 O&M budget is approximately $70 million. This scenario would be especially costly

because by 2026, PSE and the other utilities serving Washington can no longer use Colstrip

power for Washington customers without paying penalties that make doing that economically

irrational.

         5.    Even if the Arbitration or resolution of the validity of SB 266 result in a

determination that unanimity is required to close the facility, the longer it takes to reach that

decision also harms the PNW Owners. PSE, for example, will need time to determine what else

it can do with Colstrip electricity. There are not currently any promising options.

         6.    PSE has unsuccessfully tried to sell all or portions of its interests in Colstrip. In

December 2019, PSE and NorthWestern executed a transaction through which NorthWestern

would acquire all of PSE’s interests in Colstrip Unit 4 for one dollar ($1.00), with PSE retaining

its pro rata share of remediation costs, decommissioning costs, and miscellaneous shutdown

costs. Attached as Exhibit A is a true and correct copy of the purchase and sale agreement with

NorthWestern, as filed with the Washington Utilities and Transportation Commission



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(“WUTC”) (the exhibit omits schedules). The proposed transaction was subject to approval by

the Montana Public Utility Commission (“MPUC”) and the WUTC. Exhibit A §§ 1.1, 7.6(b).

While MPUC and WUTC proceedings were pending, Talen exercised a right of first refusal

under the O&O Agreement to acquire a portion of PSE’s interests in Colstrip Unit 4. As a result,

the proposed transaction was amended so NorthWestern and Talen would each acquire half of

PSE’s interests in Unit 4 for fifty cents ($0.50).

         7.      The proposed transactions before the WUTC were met by significant opposition

by regulators, stakeholders, customers, and other government officials. The proposed

transactions were mutually terminated by PSE, NorthWestern, and Talen.


                      I certify and attest that the foregoing statements made by me
              are true under penalty of perjury.

                         Dated this 20th day of June, 2022.


                                                     /s/ Ronald J. Roberts
                                                     Ronald J. Roberts




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on June 20, 2022, a true and correct copy of the foregoing document

was electronically filed in the case with the Clerk of the United States Bankruptcy Court by

using the CM/ECF system, and a copy was served on the parties who are entitled to receive

notice via the Court's ECF notification system.


                                                        /s/John S. Kaplan
                                                        John S. Kaplan




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